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 1 Nancy LaDon Mccown
   7510 Indiana Ave., Apt. 6
 2 Little Rock, AR 72207
                                                                          tlAMEs
 3 NANCY LADON MCCOWN, PROPRIA PERSONA                                    BJ::-~~lf-Jl~r*-featc:;'iLEi=iiRKiic

 4
                             IN THE UNITED STATES DISTRICT COURT
 5                               EASTERN DISTRICT OF ARKANSAS
 6

 7 NANCY LADON MCCOWN                                   )    Case No.:   1/-:/tfe,V/?'.1-.rM
                                                        )
 8                                                      )    PETITION FOR VIOLATION OF FAIR
                               Plaintiff(s)             )    CREDIT REPORTING ACT, FAIR DEBT
 9
                                                        )    COLLECTION PRACTICE ACT,
                                                        )    DEFAMATION SLANDER/LIABLE AND
10
                                                        )
            vs.                                         )
                                                             FRAUD
11
                                                        )
                                                        )
12
                                                        )
13 SANTANDER CONSUMER USA                               ~    JURY TRIAL REQUESTED
                                                        )
14                             Defendant(s)             )     This ~ assigned to District J
                                                        )               .
15                                                            and to Maglstr,te JudgE!  1
                                                                                            --,1::.~...,,~~~
16
            COMES NOW, Plaintiff Nancy LaDon McCown and files this Petition in Violation of the
17
     Fair Credit Reporting Act, Fair Debt Collection Practice Act, Defamation, Slander/Liable and Fraud.
18

19                                            JURISDICTION

20          This District Court has subject matter jurisdiction over this case pursuant to 28 U. S. C.

21   Section 1331.

22                                                 FACTS

23            On April 5, 2018, Plaintiff received a statement from Defendant SANTANDER

24 CONSUMER USA stating you had purchased my debt for the purchase of a 2009 Ford Taurus from

25 BMW Financial Services and you had no interest in the original debt making your status that of a m e
   volunteer.
26
27

28
                                                      - 1-
     PETITION FOR VIOLATION OFFAIR CREDIT REPORTING ACT, FAIR DEBT COLLECTION PRACTICE ACT,
                             DEFAMATION, SLANDER/LIABLE AND FRAUD.
           Case 4:19-cv-00172-JM Document 2 Filed 03/06/19 Page 2 of 2
             On June 15, 2018, Plaintiff disputed the debt and requested that Defendant validate the debt.

     On September 13, 2018, Plaintiff sent a QWR to Defendant disputing the debt and further

 1 requesting the Defendant to validate the debt. Proof of each assignment pursuant to U. C.C. §

 2 9-406(c). Proof of a ''wet ink" signature of any contract between Plaintiff and Defendant.

 3 Defendant has not produced the account and general ledger statement showing the full accounting

 4 of the alleged obligation. Defendant after several reasonable requests and attempts has also failed to

 5 provide a copy of a valid contract between SANTANDER CONSUMER USA and Nancy LaDon
 6 McCown in an attempt to defraud Plaintiff of money and property.

 7           Plaintiff is seeking damages in the amount of $23,780.00 and title to her 2009 Ford Taurus.
 8
             WHEREFORE, premised considered, this Court grant this request and any and all
 9
     other relief to which she is entitled. After such consideration be the court direction to allow
10
     the Plaintiff to replead her claims.
11

12
13 DATED: March 4, 2019                                    Respectfully submitted,

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                                                                         /   ·:~:- ~
                                                          Nancy Lal)on Mccown, P
                                                                                        /
                                                                                              //   --/.
                                                                                            /c'.,,(,t~t.A--
                                                                                             ria Persona
16                                                        7510 Inaiana Ave., Apt. 6
                                                          Little Rock, AR 72207
17

18                                      CERTIFICATE OF SERVICE
19
            I hereby certify that a true and correct copy of the above has been sent via certified mail,
20                                            /'4·              ·                1
     return receipt to the following on t h e ~ day of,/~i{!                 _1':., 2019.
21

22

23

24
   Santander Consumer USA
25 c/o Registered Agent
   The Corporate Company
26 124 W. Capital Avenue, Suite 1900
27 Little Rock, AR 72201

28
                                              -2-
     PETITION FOR VIOLATION OFFAIR CREDIT REPORTING ACT, FAIR DEBT COLLECTION PRACTICE ACT,
                             DEFAMATION, SLANDER/LIABLE AND FRAUD.
